Case 2:12-cV-09910-ODW-|\/|AN Document 1 Filed 11/19/12 Page 1 of 16 Page |D #:6

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Jeanne L. Zimn_)er (SBN 123321)
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CARLSO & ESSER LLP .

5959 W. Century_Boul_evard, Suite 1214 \ MWW,“_R,
Los An eles Californla 90045 B("““""'"“`"'"“
310 2 2-2200 Teleph<_me

310 242~2222 Facslmile

Attorne s for Defendant,
MRS B O, LLC

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

sindle
CASENMZ\.Z 9 (M

NOTICE OF REMOVAL

SUSAN LIVSHIN,
Plaintiff,
vs.
MRS BPO, LLC
Defendant.

 

PLEASE TAKE NOTICE that pursuant to 28 U.S.C. § 1446(a), Defendant
MRS BPO, LLC ("Defendant") hereby removes to this Court the civil action
described below, as it involves a federal question `

1. On August 22, 2012, Plaintiff RICHARD WATSON ("Plaintiff") filed a
civil action in the Superior Court of California for the County of LoS Angeles, entitled
Susan Livshin v. MRS BPO, LLC, Case No. 12EO8491 ("State Court Action").

2. Plaintiff never served a copy of the original Complaint on Defendant. On
September 27, 2012, Plaintiff flled a First Amended Complaint ("FAC") in the State
Court Action. A true and correct copy of Plaintiff‘s FAC is attached hereto as Exhibit

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CARlsoN &MESS£R LLP

5959 W. GENTuRY Eczui.EvARD, Sui're 1214

Lr:)s ANGELES, CAL¢F¢:JRN|A 901345

Case 2:12-cV-09910-ODW-|\/|AN Document 1 Filed 11/19/12 Page 2 of 16 Page |D #:7

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3. Plaintiff served the FAC on Defendant on ()ctober 25, 2012. Defendant
had no knowledge or notice of Plainti'fi‘s claims prior to October 25, 2012.

4, This Notice ofRemoval is timely filed within the 30-day removal period
pursuant to 28 USC § l446(b).

5. There are no other Defendants named in Plaintifi‘s FAC.

6. This action involves a federal question in that it arises under the Fair Debt
Collection Practices Act ("FDCPA"; 15 U.S.C. § 1692, et seq.). (See Plaintiffs FAC
11 1.) lt is therefore an action of Which this Court has original jurisdiction under 28
U.S.C. § 1331, and may be removed to this Court by Defendant pursuant to the
provisions of 28 U.S.C. § 144l(a). This Court has supplemental jurisdiction over
Plaintift's state law claims pursuant to 28 U.S,C. § 1367.

7. Venue is proper in this district under 28 U.S.C. §1441(a) because this
district and division embrace the place Where the removed action has been pending.

8. Plaintift‘s FAC includes a demand for a jury trial. Defendant also
demands a jury trial.

9. Defendant Will promptly tile a copy of this Notice of Removal with the

clerk of the State Court Where the action has been pending

DATED: November 19, 2012 CARLSQN & MESSER LLP
ii 2

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By j § 185
leanne L. Zimmer

l\/lartin Schannonfg
Attorneys for De endant MRS BPO, LLC

07322.()0/|8‘)256 NOTICE OF REMOVAL

 

Case 2:12-cV-09910-ODW-|\/|AN Document 1 Filed 11/19/12 Page 3 of 16 Page |D #:8

EXHIBIT A

Case 2:12-cV-09910-ODW-|\/|AN Document 1 Filed 11/19/12 Page 4 of 16 Page |D #:9

 

l v SU 1
summons c mm:m,mm, M_°j
. (clTA CION JUDICIAL] l Md usa neu confer
NOT'CE To DEFENDANT!
(A WSO AL DWANDADC).'

MRS BPO, L.L.C.

YOU ARE BE|NG SUED BY PLA!NT|FF:
(LO ES TA DEWANDANDO EL DEMANDANTE).'

SUSAN LIVSHIN

 

 

 

 

b|t;iic.TlCEt You have been sued. The court may decide against you without your being heard unless you respond within 30 days Reud the information
w.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintitl. A letter or phone cell wil not protect you, Vour written response must be in proper legal form ii you want the court to hear your
ceee. There may be a court form that you can use for your response You con find those court forms end more information et the Califomia Courts
Online Sell-Hetp Center (wmcourttinia.ce.gowse#herpt, your county law liorary. or the courthouse nearest you. if you cannot pay the liling lee, ask
me court clerk for a lee waiver fonn. ll you do not tile your response on time. you may lose the case by default end your wages. money. and property
may be taken without further warning from the oourt.

There aro other legal requirements You may want to call an attorney right away. lt you do not know an ettomey, you may want to call an attorney

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Mww.lawhelpcatifomla.org)‘ en el Cenun de Ayuda de las Corres de Califom/e, (www.sucorte.ca.gov) o poniendose en centum con la cone a el
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rE/nombre y direccron de la cone es).- Superror Court of Calrfomra
6230 Sylmar Ave

Van Nuys, CA 91401

The name, address, and telephone number of pialntift’s attorney, or plaintiff without an attomey, iss
(El nombro, la diroccion y el numero de teléfono del abogao'o del demandanre, o del demandante quo no liens abogado. es).'

L. Paul Mankin, lV 8730 Wi|shire Blvd, Suite 310 Beverly llills, CA 9021 l

 

 

 

CASE M}“B£N

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DATE: Cterlr, by . Deputy
{Fecha) (Secretarr'o) (A¢b`unto)
(For proof of service of this summons, use Proot of Servioe ot Summons (forrn POS~010).)

(Para pruebe de entrega de csra citation usa el formulario Proof of Sorvloe of Summons. (POS~010)).

NOT|CE TO THE PERSON SERVED: ¥ou are served

‘SE’“’ 1. l:] as an individual oewndam.

2. [:_:t as the person sued under the fictitious name of (specify):

 

 

3, 1::1 on behalf cf (specify):

 

 

 

 

 

 

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OR[ .
t Law offices or Paul Manr¢rn, rv NOI%INAL FILE])
2 3730 wilshire Brvd, site 310 WGSY Drsr-’~l
poverty Hins, cA 90211 » 7
3 Phonc: 877_219-2577 SEP z 7 2012
Fax: 866-633-0228 L(J' ~ `
4 pmankin@toddfiaw.com SUFE%;:)N{JELES
5 Attomey for Plarntrff R COURT
6 SUPER.IOR COURT OF THE STATE GF CALIFORNIA
7 FOR THE COUN'I‘Y OF LOS ANGELES
anrrTEr) JURrsDrCTroN
3
9 ) ease No. 121308491
)
to SUSAN LIVSHIN ) FIRST AMENDED COMPLAINT FOR
) VIOLATION
" Plaimirr, ) oF ROSENTH AL FAr-R uEBT
,2 ) CO LLECTIGN PRACTICES ACT AND
- vs. ] FEDERAL FAIR DEBT COLLECTION
13 ) PRACTICES ACT
MRS BPO, L.L.c. )
14 ) (Amounl not to exceed 810,000)
l 5 Dcfendanl. )
} l. Violation of"RosenthaI Fair Debt
16 ) Col]ecrion Practices Act
) 2. Violation of Fair Debt Collection
'7 Pracu'oes Act
rs
l9 I. `lNTRODUCTlON
10 l. This is an action for damages brought by an individual consumer for Defendant’s

 

 

 

21 violations of the Rosonthal Fair Debt Collection~Praotices Aot, Cal Civ C'ode?§l`?~SS, er_ seq.
(hereinafier “RFDCPA”) and the Fair Debt Colloction Practices Act, 15 U.S.C. §1692, et seq.
(hereinaf`ler “FDCPA"), both of which prohibit debt collectors l`rom engaging in abusive,

35 dcccptivc, and unfair practiccs.

 

H. PARTIES

FlRS'l` AMENDF.D COMPLAINT - l

 

 

 

 

 

 

 

 

 

 

Case 2:12-cV-09910-ODW-|\/|AN Document 1 Filed 11/19/12 Page 6 of 16 Page |D #:11

 

l 2. Plaintll`i`, Susan Livshin ("Plaintiii”), is a natural person residing in Los Angeles
2 . . . .
county m the state of Cahf`omia, and is a “consumer” as defined by the FDCPA, 15 U.S,C.

§l 692;1(3) and is a "debtor"’ as defined by Cal Civ Codc §1788.201).

 

 

 

 

 

5 3. At all relevant times herein, Defendant, MRS BPO, LLC, (“Defendant Assct”)
6 was a company engaged, by use of the mails and telephone, in the business of collecting a debt
7 from Plaintiff which qualifies as a “debt," as defined by 15 U,S.C. §1692a(5), and a “constxmer
8 debt,” as defined by Cal Civ Code §17"88".2(£). Def`endant Asset regularly attempts to"collect
l: debts alleged to be doe another, and therefore is a “debt collector" as defined by the FDCPA,
ll 15 U.S.C. §l 692a(6}, and RFDCPA, Cal Civ Code §1788.2(<:).

12 IIL FACTUAL ALLEGATIONS

‘3 4. At various and multiple times prior to the filing of the instant complaint,
:: including within the one year preceding the filing of this complaint, Det`endant contacted
16 `Plaintii`t`in an attempt to collect an alleged outstanding debt.

17 5. On or about September 2011, Plaintiff began receiving calls from Det`endant, in

13 an attempt to collect an alleged outstanding debt1

 

 

 

 

 

19 6. On average Plaintiif received approximately two collection calls from

::) Def`endant` everyday in connection with an attempt to collect an alleged outstanding debt,

12 7. On average, Plaintit`f received approximately ten collection calls imm Defendant~
23 every week in connection with an attempt to collect an alleged outstanding dcbt.

24 8. On averagc, P‘lajntiff received approximately forty collection calls from

25 1
Det`endant every month in connection with an attempt to collect an alleged outstanding debt.

26

z 9. Dcfendant contacted Plaintii"f with such frequency as to annoy and harass
7

28 Plaintif`i`.

l~`lRS'l` AMI:'NDED COMP[.A!N'I' - 2

 

 

 

 

 

 

 

 

Case 2:12-cV-09910-ODW-|\/|AN Document 1 Filed 11/19/12 Page 7 of 16 Page |D #:12

l lO. Defendant`s conduct violated the FDCPA and the RFDCPA in multiple ways.

including but not limited to:

a) Causing a telephone to ring repeatedly or continuously to annoy

Plaimin(€az civ Code § 1738.1 lgd>);

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6 b) Communicau'ng, by zelcphone or in person, with Plaintiff with
7 such frequency as to be unreasonable and 10 constitute an
: haessment lo Flaint{ffundef the circumstances (Cal Clv Codé `§
m l788.l l(e));
H c) Causing Plainliff`s telephone to ring repeatedly or continuously
:: with intent to hamss, annoy or abuse Plaintil`f (§ 1692d(5));and
14 d) Communicatlng with Plaintif`i` at times or places which were
w known or should have been known to be inconvenient for
16 Plaintiff, (§ 1692c(a)(l)).
17
;g e) Falsely~representing or implying that nonpayment of` Plaintiff`s
19 debt Would result in the selzux'e, gamishment, attachment, or sale
m of Plainu`l`f`s property or wages, where such action is not lawful
:: or Defenclant did not intend to take such action (§ l692e(4));
23 f) 'I'hreaccning to lake an action against Plaintif`f that cannot be
24 legally taken or that was not actually intended to be taken,
2: including threacernng...(§ l692e(5))
2
37 g) Engaging in conduct the natural consequence of which is to
23 harass, oppress, or abuse Plaintil`f, including... (§ 1692d)).

FlR.s’l' AM¢€NDED cOMI’L/xn~lr - 3

 

 

 

 

Case 2:12-cV-09910-ODW-|\/|AN Document 1 Filed 11/19/12 Page 8 of 16 Page |D #:13

l l l. As a result ofthe above violations.of the FDCPA and RFDCPA,
Plaintifl` suffered and continues to suffer injury to Plaintii`f"s feelings, personal
humiliation, embanassmcnt, mental anguish and emotional distress, and
Defendanl is liable to Plaintii`f for Plainn‘fi’s actual damages, statutory damages,

6 and costs and anomey‘s fees.

 

 

 

 

 

 

 

7 COUN'I` l: VIOLATION OF ROSENTHAL

8 FAIR DEBT COLLECTION PRACT-ICES ACT

9 l2. Plaint.ifl` reincorporales by reference all of` the preceding paragraphs.

w l 3. To the extent that Dei`endant's acl'ions, counted above, violated the RFDCPA,

 

 

chose actions were done knowingly and willfully

 

PRAYER FOR RELIEF

WHEREFORE, Plaintif`f respectfully prays that judgment be entered against Del`endant

 

l$ l`or tile following:

w A. Aciual damages;

n B Statutoiy damages for willful and negligent violations;

18 C. Ccsts and reasonable attorney’s fees,

'9 D For such other and further relief as may be just and proper.

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32 l4. Plaintifl` reinccrporates by reference all oi` the preceding paragraphs.

 

PRAYER FOR RELIEF

 

Wl»lER£-§FOR\£".7 Plalntiff respectfully prays that judgment be entered against Dei`endant

37 for the following:

23 A. Actual damages;

FIRST AMBNDED COMPl,/\ll\l’l` - 4

 

 

 

 

 

Case 2:12-cV-09910-ODW-|\/|AN Document 1 Filed 11/19/12 Page 9 of 16 Page |D #:14

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 B. Statutory damagcs;
2 C. Costs and reasonable attorney’s fees; and,
3_ D`. For such other and further relief as may bejust and proper.
4
5 PLAINTIFF HEREBY REOUESTS A TRIAL BY JURY
6 Respectfully submitted this 21"‘ day ol`SepleEl)_q;,ZOlQ.
7 By: /` “`\"`J
8 Paul Mankin, lV., Esq.
~ ' 1 Law Ofi`lces ol` Pn.ul Mankin, W.
9 Attorney for Plaintiil`
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PROOF ()F SERVICE
STATE OF CALIFORN[A )
ss.
COUNTY OF LOS ANGELES )

I am employed in the County of Los Angeles, State of California.

I am over the age of 18 and not a party to the Within action; my business address is 5959 W.
Century Boulevard, Suite 1214, Los Angeles, California 90045.

On November 19, 2012, l served the foregoing document described as: NOTICE OF
REMOVAL on all interested parties in this action by placing a true copy thereof enclosed in a
sealed envelope addressed as follows:

SEE ATTACHED SERVICE LIST

[X] BY MAIL: I sealed such envelope(s) and placed it (them) for collection and mailing on
this date following the ordinary business practices of Carlson & Messer LLP. lam "readily
familiar" with the business practices of Carlson & Messer LLP for collection and
processing of correspondence for mailing with the United States Postal Service. Sueh
correspondence would be deposited with the United States Postal Service at Los Angeles,
California this same day in the ordinary course of business With postage thereon fully
prepaid

[ ] BY FACSIMILE: 1 transmitted via telecopier machine such document to the offices of the
addressees Executed on this Los Angeles, California.

[ ] BY ELECTRONIC MAIL : Based on Court order or an agreement of the parties to accept
service by e-mail or electronic transmission, I caused the said documents to be sent to the
persons at the electronic mail addresses listed below (see attached service list). I did not
receive within a reasonable time after the transmission, any electronic message or other
indication that the transmission was unsuccessful.

[] VIA NEXT DAY FEDERAL EXPRESS: l delivered the above described documents in
the above described envelopes to Federal Express for delivery via FedEx next business
afternoon.

[] &STATE) - I declare under penalty of perjury under the laws of the State of
alifornia that the above is true and correct.

[ ] (FEDERAL) ~ l declare that I am employed in the office of a member of the bar of this
court at whose direction the service was made,

Executed this 19"‘ day of November, 2012 at Los Angeles, California.
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Susan Livshin v. MRS BP(). LLC
Our File No. 07322.00

Paul Mankin, IV Attorneys for Plaintiff,
LAW OFFICES OF L. PAUL MANKIN, IV SUSAN LIVSHIN
8730 Wilshire Blvd., Suite 310

Beverly Hills, CA 9021 l

Phone: (800) 219-3577

Fax: (866) 633-0228

prnankin@paulmankin.com

 

Case 2:12-cV-09910-ODW-1\/|AN Document 1 Filed 11/19/12 Page 12 of 16 Page |D #:17

UNITED STATES D|STRICT CO URT, CENTRAL DISTRlCT OF CALIFORNIA

 

Cl\"lL (f()VbIR SHEE'|`
l (a) PLAlN'l`ll<`FS (Check box it`you are representing yout'.sc|l't:l) I)EFENDANTS
SUSAN LlVSHlN MRS BPO, LLC

 

(b) Attorncys (Firm Name, Address and Telephone Numbci. 11` you are representing

yourself, provide same.)

l’aul Mankin IV, Esq.

Law Ofticc of Paul Mankin 1V, 8730 Wilshire Boulevard, Suite 310, Bevcr|y

l~lills, CA 9021 1, 877-219-2577

Attorneys (1f Known)

Jeannc l.. Zimmer, Esq.
Martin Schannong, Esq.

Carlson & Messer LLP, 5959 West Century Boulevard, Suite 1214, Los

Ange|es` CA 90045, 310-242-2200

 

 

\l. BASIS OF JURISDICT|ON (Place an X in one box onl_\‘ )

1:1 1 U.S. Government Plaintil`l`

1:1 2 U.S. Government Det`endant

d3 cheral Question (U.S.

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Govcmment Not a |’srty)

01` Parties in ltem 1111

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lll. (.`lTlZIi.`,NSl'llP OF PR!NCIPAL PART|ES - For Diversity Cases Only
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Proeeeding State Court Appel|ate Court Reopened District Judge from
. Litigation Magistrate ludge

 

V. REQUESTED lN COMPLAlNT:
CLASS AC'l`lON under F.R.C.P. 23: 1:1 Yes N¢NO/

JURY DEMANI): |jl(Yes 111 No ((`heck `Yes’ only il`demanded in complaint.)

1:1 MONEV DEMANDED lN COMPLAINT: $

 

Vl. CAUSE OF ACT\ON (Cile the U.S. Civil Statute under which you are1'111ng and write a brief statement of cause Do not cite jurisdictional statutes unless diversity.)
Fair Debt Collcction Practiccs Act, 15 USC 1692 el seq
Vll, NA'l`URE OF SUIT (P|acc an X in one box only.)

 

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13 820 Copyrights
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1:1 862 Black Lung (923)
1:1 863 DlWC/DIWW
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111 864 SSlD Title XVl

 

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FOR Ol*"l‘lCE USE ONLY:
AF'I`ER COMPLET lNG THE FRON'|` Sll)E ()F FORM CV~ 71 (` OMPLE l E'I`HE lNFORMATlON REQUESTED BELOW.

Case Nurnber:

 

 

Cv-71 (05/08)

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Page 1 01`2

Case 2:12-cV-09910-ODW-1\/|AN Document 1 Filed 11/19/12 Page 13 of 16 Page |D #:18

UNlTED STATES l)lSTRlCT COURT, CENTRA 13 DlSTRlCT OF CALIFORNIA
(,`l\’ll1 (Y()V ER Sl'lEl:`.'l`

Vlll(a). ll)EN'l'l(.`AL CASES: Has this action been previously lilecl in this court and dismissed, remanded or closed'l leo 111 Yes
11` yes1 list case number(s):

 

Vlll(b). RELATED CASES: Have any cases been previously lilcd in this conn that nrc related to the present ease? E{No 111 Yes
Ifyes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) 1:1 A, Arise from the same or closely related transactions happenings or events; or
111 B. Call t`or determination o1`1|ie same or substantially related or similar questions ol`law and l`act', or
13 C. For other reasons would)entai`l substantial duplication ot` labor il`hcard by different judges; or
1:1 D. lnvolve the same palent` irademark or copy ri ght, tgi_d_ one of the factors identified above in a, b or c also is present

 

lX. VENUE: (When completing the following information, usc an additional sheet il`nccessary.)

(a) List the County in this District; Califoniia County outside ol`this Distri'ct; Sizite il`olhei than Ca|il`ornia', or Foreign Country, in which EACH named plaintiff resides
1:1 Check here if the government, its agencies or employees is a named plainlil`l'. 11` this box is checkcd, go to item (b).

 

County in this Distriet: * (`alil`ornia County outside ofthis District; Statc, ifothcr than Crtlil`omia; or Foreign Country

 

Los Angeles County, Calitomia

 

(b) List the County in this District', Calit`ornia County outside i)l` this District; State it`other than Calit`ornia; or Foreign Country, in which EACl-l named defendant resides
El Check here if the govemment, its agencies or employees is a named defendant 11` this box is cliccked, go to item (c).

 

County in this District:* Ca|it'ornia County outside of this District; State, if other than Califomia; or Foreign Country

 

(Tairiden County, New Jersey

 

(c) List the County in this District; Ca|iforiiia County outside 1)1'this District', State il`other than Ca|it`ornia; or Foreign Country, in which EACH claim arose.
Notc: 111 land condemnation cases, use the location of the tract ofland involved.

 

County in this Distrie\: " (,`alit`oritia County outside of this District; State, if other than Califomia; or Foreign Country

 

Los Angeles County, California

 

 

 

 

* Los Angeles, Orangc, San Bernardioo, Riverside, Vqritura, Siinta Barbarn. or San Luis ()bispo Counties

Note: In land condemnation cases use the location of tl;`~e:tract”i)l`|and involved
= /<.

t ~~ pate 11-19-12

 

 

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X. SlGNATURE OF ATTORNEY (OR PRO PER): ‘1"$~"\/ 1 d
Notice to Counsel/Parties: The CV'71 (JS~44) Civil Co\ier Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by |aw. This 1`onn, approved by the Judieial Coiit'erencc ol`the United States in September 1974, is required pursuant to Local Rule 3~1 is not filed
but is used by the Clerk of the Court for the purpose ot`statistics, venue and initiating the civil docket sheet. (For more detailed instructions1 see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature ofSuit Code Abbreviation Su|)stantive Statemeiit of Cause of Action

861 111A A11 claims for health insurance benefits (Medicare) under 'I`itle 18, Part A, of the Social Security Act, as amended
Alsoi include claims by hospita1s_ skilled nursing facilities, etc., for certification as providers of services under the
program (42 U.S.C. 19351"1"(b))

862 BL /\11 claims t`or “B|ack Lung" benefits under 'l`itle 4, Part B, ofthe Federal Coal Mine Health and Safety Actof1969,
(31)1.1.3.€. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under 'l`itle 2 of the Soeial Security Act, as
rimendcd; plus all claims lilcd l`or chi|d’s insurance benefits based on disability (42 U.S,C. 405(g))

863 DlWW All claims ti|ed l`oiv widows or widowei's insurance benefits based on disability under Title 2 of the Social Security
/\ci. 115 amended (42 11.8.<`.405(g))

864 SSlD Al| claims t'or supplemental security income payments based upon disability filed under Title 16 of` the Social Security
/\ci. as amended

865 RSl All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U S C- (g))

 

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PROOF ()F SERVICE
STATE OF CALIFORNIA )
ss.
COUNTY OF LOS ANGELES )

l am employed in the County of Los Angeles, State of California.

lam over the age of 18 and not a party to the within action; my business address is 5959 W.
Century Boulevarcl, Suite 1214, Los Angeles, California 90045.

On November 19, 2012, I served the foregoing document described as: CIVIL COVER
SHEET on all interested parties in this action by placing a true copy thereof enclosed in a sealed
envelope addressed as follows:

SEE ATTACHED SERVICE LIST

[X] BY MAIL: I sealed such envelope(s) and placed it (them) for collection and mailing on
this date following the ordinary business practices of Carlson & Messer LLP. I am "readily
familiar" with the business practices of Carlson & Messer LLP for collection and
processing of correspondence for mailing with the United States Postal Service. Such
correspondence would be deposited with the United States Postal Service at Los Angeles,
California this same day in the ordinary course of business with postage thereon fully
prepaid

[ ] BY FACSIMILE: l transmitted via telecopier machine such document to the offices of the
addressees Executed on this Los Angeles_, California.

[ ] BY ELECTRONIC MAIL ; Based on Court order or an agreement of the parties to accept
service by e-mail or electronic transmission, I caused the said documents to be sent to the
persons at the electronic mail addresses listed below (see attached service list). l did not
receive within a reasonable time after the transmission, any electronic message or other
indication that the transmission was unsuccessful

[] VIA NEXT DAY FEDERAL EXPRESS: I delivered the above described documents in
the above described envelopes to cheral Express for delivery via FedEx next business

afternoon

[] &STATE) - I declare under penalty of perjury under the laws of the State of
alifornia that the above is true and correct.

[X] (FEDERAL) ~ l declare that l am employed in the office of a member of the bar of this
court at whose direction thc service was made.

Executed this 19"‘ day of November, 2012 at Los Angeles, California.

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loo/act marital ¢V!<j,'t.>

Li'iida’Brooks

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Susan Livshin v. MRS BPO. LLC
Our File No. 07322.00

Paul Mankin, IV Attorneys for Plaintiff,
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Otis D. Wright ll and the assigned
discovery Magistrate Judge is Margaret A. Nagle.

The case number on all documents filed With the Court should read as folloWs:

CV12- 9910 ODW (MANX)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served With the summons and complaint on al/ defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Su sequent documents must be filed at the following location:

Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

CV-18 (03/06) NOT|CE OF ASS|GNIV|ENT TO UNlTED STATES MAGISTRATE JUDGE FOR D|SCOVERY

